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FILED

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

U3 WaT 19 PS]

TAMMY HILL- MCFADDEN. CASE NOS :l0-CU-YO@ -S- 329 HTS
Plaintiff.

Vv.

BANK OF AMERICA CORPORATION,
a foreign corporation,

Defendant.

COMPLAINT AND DEMAND FOR JURY TRIAL

The Plaintiff, TAMMY HILL-MCFADDEN (hereinafter Plaintiff) sues Defendant.

BANK OF AMERICA CORPORATION, a foreign corporation, (hereinafter Defendant). and states:

1. This is an action for damages which exceeds the amount of fifieen thousand dollars (15,000.00),

exclusive of interest, cost and attorney's fees.

Plaintiff resides in Jacksonville, Duval County. Florida, and has at all times material herein.
resided in Jacksonville, Duval County, Florida.

Defendant, BANK OF AMERICA, CORPORATION is a forcign corporation doing business in
in Jacksonville, Duval County, Florida and at the time of the acts complained of herein. and
continues to have its’ principle place of business in Jacksonville, Duval County, Florida.

GENERAL ALLEGATIONS

4.‘ Plaintiff was hired by Defended on or about May 26. 1998.

During Plaintiffs tenure with Defendant, Plaintiff received outstanding performance reviews,

numerous leadership awards for her dedication and teamwork.

On or about May 31, 2005, Plaintiff was told that her current position as a Compliance Officer
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would be climinated.
7. On or about June 30, 2005, Plaintiff's position of employment with Defendant was terminated.
8. Plaintiff was later told the reason for her termination was duc to business unit downsizing.
9. On or around December 2004, Plaintiff was told by her manager, Kimberley Kipp that she
would be promoted from a Compliance Officer Band 6 to a Senior Compliance Officer Band 5
effective immediately.
10. On or around January 2005, Plaintiff began expressing to her management team several
concerns she had with the account activities of Premier Non- Resident Alien (NRA) clients and
the bank systemic deficiencies within the client information submitted into the
Know Your Customer Automation Tool (KYC).
11. Plaintiff expressed these concerns both verbally and in writing to management outlining the
department’s violations.
12. Management refused to acknowledge, and or discuss any of the violations with the Plaintiff.
13. Onor around April 2005, when temporary employees were brought in to review and approve
KYC, NRA/Domestic clients’ personal identification records. Plaintiff immediately notified
management of her objections in this process, and that she believed Bank of America
was in serious violation of the Bank Secrecy Act (12 CFR 21.21), USA Patnot Act

Section 326(a), H.R 3004 U.S.C. § 5318 and appropriate compliance procedures.

14. Specifically, over a period of approximately five months, the Plaintiff objected to management

the following practices:

A. Failure to have a sound monitoring system in place to detect unusual and/or
suspicious patterns of account activities;

B. Failure to effectively contro! and reducc risk by understanding normal and
reasonable account activities of Non- Resident Alien (NRA) clients

C. Inadequate management information system needed to provide managers and

Compliance Officers with timely information needed to identify, analyze and
effectively monitor higher risk customer accounts. (i.¢. reports of missing documents,

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transactions made through a customer account that are usual, and aggregations of a clients
total relationship with Bank of America.

D. Failure to maintain a program that cnsures and monitors Compliance with
the law and its implementing regulations, including record keeping and reporting
requircments to protect the Defendant against criminal, civil penalties, asset forfeitures.
(i.e. over 40.000 Know Your Customer (KYC) client identification records remained
in a “pending review” status for over a 10 month period without warrant appropriate due
diligence to ensure Bank of America complied with the USA PATRIOT ACT Section

326(a), H.R 3004 U.S.C. § 5318).

E. Failure to ensure appropriaic internal controls were in place. applying sound
Know Your Customer (K YC) procedures and sustaining ethical and professional standards.
F. Storing thousands of copies of clients passport, ID information in a unsecured
location, bank associate sharing user/password log in access ID information with employment
agency employees.

G. Inappropriate handling of confidential correspondences (i.e. thousands of copies
of clients personal identification documents, (i.e. passports, driver’s licenses, visas,
personal and business documents including clicnts date of birth, social security, TIN
numbers, clients’ signatures remains unaccounted.

H. Premier Governance Executives granted the approval of a large number of
Non-Resident Alien (K YC) client records without warrant appropriate due
diligence in order for Bank of America to meet internal audit deadlines timely.

15. | Management refused to acknowledge, and or discuss any of the violations with the Plaintiff
16. Onor around June 1, 2005, the Plaintiff subsequently learned that one of her peers.
was promoted to a High Risk Senior Compliance Officer position.
17. Plaintiff was more qualified than the individual! sclected for the promotion, has worked
longer. and has more years of risk management experience with the Defendant.
Morcover, the individual selected for the promotion has no bilingual experience,

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which was a job requirement for the High Risk Senior Compliance position.

18. The individual selected for the promotion was not an African American.

19. Plaintiff was one of two Compliance Officers that were African American women selected
for job displacement.

20. Plaintiff believes that she has been the target by management in retaliation for disclosing
conduct she perceived as violation of the law.

21. On or around June 9, 2005 Plaintiff provided Bank of America Personnel Executives, Premier
Governance Executives, CEO Ken Lewis with a chronological list disclosing what she
perceived as violation of the Bank Secrecy Act (12 CFR 21.21) and the USA Patriot Act,

Section 326 (a) H.R. 3004 U.S.C§ 5318 Plaintiff filed an appeal with the Defendant for

immediate job reinstatement.

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Premier Governance Executives repeatedly and willfully violated the Bank Secrecy Act.

USA Patriot Act and its implementing regulations.

23. Plaintiff rights against retaliation for disclosing concems have been violated in accord with
Florida Statutes § 448.102

24. Onor before August 24, 2005, Plaintiff applied for a Compliance Officer Band 6 position
posted on Defendant internal website for displaced associates.

25. The position required the “exact” same job qualifications the Plaintiff held as Compliance
Officer Band 6 previously with the Defendant.

26. Onor before September 2, 2005, Plaintiff was interviewed bricfly by Mark Adams, Premier

Business Support Manager for the Compliance Officer position.

Plaintiff was told by Mark Adams that he would not go through an “interview process” with

Plaintiff because he was fully aware of her capabilities to excel in the Compliance Officer role.

He also stated that the Plaintiff was the “most qualified candidate” for the position, and

that he was glad to hear that she had applied for the position because he did not have the ime

10 “train” a new associate for the Compliance Officer position.

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27. From approximately January 2005 — June 2005, Plaintiff had worked closely with the
Premier Business Support Manager, as well as his assistant on countless compliance - related
projects for the Southeast Region.

28. Onor before September 23, 2005, Plaintiff received an email notification from Bank of
America HR Personnel Representative informing her that she was not selected for the
Compliance Officer position.

29. Plaintiff was told by Bank of America HR Personnel Representative that the person sclected
had stronger skills and qualifications than her.

30. Plaintiff was clearly more qualified than the individual selected for the position. Plaintiff
met all of the job requisition requirements the Compliance Officer position required.

The white female employee selected did not meet all of the job requisition requirements to
hold the position. The white female employee selected for the Compliance Officer position
appeared to be in her mid- twenties.

31. From July 2004 — June 2005, Plaintiff was one (1) of three (3) Compliance Officers
that was domiciled in Jacksonville, Florida. Plaintiff was one of two Compliance Officers that
were African American women selected for job displacement. The Compliance Officer that
was not selected for job displacement was a less qualified white female employee in her
mid- thirties.

32. Onor around June |, 2005, Defendant promoted the Compliance Officer that was not selected
for job displacement to the High Risk Senior Compliance Officer position.

33. Onor about September 29. 2005, Plaintiff filed a Charge of Race Discrimination with the
Equal Employment Opportunity Commission alleging the Defendant violated Title VII of the
Civil Rights Act of 1964, as amended, and the Age Discrimination in Employment Act
(ADEA) of 1967, as amended.

34. The Charge of Discrimination referred to paragraph thirty two (32) was filed within three
three hundred and sixty five days (365) from the date of the last discriminatory act in
accord with Chapter 760 Florida Statutes.

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At the times material hereto the Plaintiff is and has been a member of the protected class

pursuant to Chapter 760, Florida Statutes.

All statutory pre- requisites have been complied with prior to the filing of this compliant.
On or around February 21, 2005, Plaintiff received Notice of Right to Sue the Defendant
within nincty (90) days of receipt of notification.

COUNT I; RETALIATION

Plaintiff realieges paragraphs | -22, as if fully set forth herein and further alleges:
The acts alleged in this Compliant constitute a violation of the retaliation under the Florida

Whistle-blower Act, Sections 448. 102- 448. 105, Florida Statutes, prohibits retaliation against

employee who reports official wrong doing.

The Defendants through their Officers, Directors, Supervisors, Managers, Employees and /or

Agents knew or reasonably should have known about Premicr Governance ongoing

departmental compliance issues and serious violation of the law, as described by the Plaintiff,

failed to take any corrective actions.

This action brought against the Defendant on the basis of an unlawful retaliatory practice

against the Plaintiff.

Section 760. 10(7), Florida Statutes, “It is an unlawful employment practice for an employer...to
discriminate against any person because that person has opposed any practice which is an
unlawful employment practice under this section, or because that person made a charge,
testified. assisted in any manner in an investigation, proceeding. or hearing under this section. ~
Asa direct and proximate result of the actions of its agents and or/employces, the

Defendant has caused the Plaintiff to suffer lost wages, past, present and future, mental
anguish, pain and suffering and loss of dignity.

The Defendant’s acts of retaliation were performed with malice and reckless indifference to
Plaintiff's protected civil rights. Section 760.11(5). Florida Statutes, (1993), provides that
punitive damages may be awarded and the provision of Section 768.72 and 768.73, Florida

Statutes, do not apply.

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45. Plaintiff has obligated herself to pay a reasonable attorney’s fee in connection with
the bringing of this action. Section 760.11 (5), Florida Statutes, provides

that a reasonable attorney's fees, including cost, may be awarded to the prevailing party.

WHEREFORE, the Plaintiff demands judgment against the Defendant for back
pay, front pay, compensatory and punitive damages, pre-judgment interest. cost. attorney’s fees,

and any further relicf the Court deems just and proper.

COUNT I: RACE DISCRIMINATION

46. This is an action for damages for race discrimination in violation of Chapter 760, Flonda

Statutes, The Florida Civil Rights Act.

47. Plaintiff realleges paragraph 23 -30 as it fully set forth herein, and further alleges:

48. This action is brought against the Defendant on the basis of an unlawful discriminatory
practice relating to plaintiffs race.

49. — Section 760.10(1) (a), Florida Statutes (1993), states that it is an unlawful employment
practice for an employer... to discriminate against any individual with respect to
compensation, terms. conditions or privileges of cmployment because of such
individual's... race.

50. Atal times material hereto the Plaintiff is and has been a member of protected class
pursuant to Chapter 760, Florida Statutes.

51. The Plaintiff's race was the sole or motivating factor which contributed to the
discrimination against her in the terms, conditions and /or privileges of her employment.

52. Asa direct and proximate results of the actions of it’s’ agents and /or employees, the
Defendant has caused the Plaintiff to suffer lost wages, past, present and future, mental
anguish, pain and suffering and loss of dignity.

53. The Defendant’s acts of discrimination were performed with malice and reckless indifference
to Plaintiff's protected civil rights. Section 760.1 1(5), Florida Statutes, (1993). provides that

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punitive damages may be awarded and the provision of Scction 768.72 and 768.73. Florida
Statutes, do not apply.

54. Plaintiff has obligated herself to pay a reasonable attorney’s fee in connection with the
bringing this action. Section 760.11(5), Florida Statutes, provides that a reasonable
Atiomey’s fec, including cost, may be awarded to the prevailing party.

WHEREFORE, the Plaintiff demands judgment against the Defendant for back
pay. front pay, compensatory and punitive damages, pre-judgment interest, cost, attorney’s fecs.
and any further rclief the Court deems just and propcr.

COUNT Ill: AGE DISCRIMINATION

55. This is an action for damages for age discrimination in violation of Chapter 760, Florida
Statutes, The Florida Civil Rights Act.

56. Plaintiff realleges paragraph 29 — 30 as it fully sct forth herein, and further alleges:

57. This action is brought against the Defendant on the basis of an unlawful discriminatory
practice relating to plaintiffs age.

58. Section 760.10(1) (a), Florida Statutes (1993), states that it is an unlawful employment
practice for an employer... to discriminate against any individual with respect to
compensation, terms, conditions or privileges of employment because of such
individual’s... age.

59. Atall times material hereto the Plaintiff is and has been a member of protected class
pursuant to Chapter 760, Florida Statutes.

60. The Plaintiff's age was the sole or motivating factor which contributed to the
discrimination against her in the terms, conditions and /or privileges of her employment.

61. Asa direct and proximate results of the actions of it’s’ agents and /or employees, the
Defendant has caused the Plaintiff to suffer lost wages, past. present and future, mental

anguish, pain and suffering and loss of dignity.
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62. The Defendant’s acts of discrimination were performed with malice and reckless indifference
to Plaintiff's protected civil rights. Scction 760.11(5), Florida Statutes, (1993), provides that
punitive damages may be awarded and the provision of Section 768.72 and 768.73, Florida

Statutes, do not apply.

63. Plaintiff has exhausted her administrative remedies prior to bringing this action.

64. Plaintiff has obligated herself to pay a reasonable attorney’s fee in connection with the
bringing this action. Section 760.11(5). Florida Statutes, provides that a reasonable
Attorney's fee, including cost, may be awarded to the prevailing party.

WHEREFORE, the Plaintiff demands judgment against the Defendant for back
pay, front pay, compensatory and punitive damages, pre-judgment interest. cost, attorney’s fees.
and any further relief the Court deems just and proper.

REQUEST FOR A JURY TRIAL

PLAINTIFF HEREBY REQUESTS TRAIL BY JURY ON ALL ISSUES SO TRIABLE.

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